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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

JAWANN S. HAYES                                                           PETITIONER

V.                                NO. 4:21-CV-00610-JM

ARKANSAS DEPARTMENT OF PROBATION
and PAROLE                                                               RESPONDENT




                                        JUDGMENT

       Consistent with the Order entered separately today, this case is DISMISSED WITHOUT

PREJUDICE. All relief sought is denied, and the case is closed.

       Dated this 29th day of September, 2021.

                                                   ____________________________________
                                                   UNITED STATES DISTRICT JUDGE
